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                        IN THE UNITED STATES DISTRICT COURT
                        FOR THE SOUTHERN DISTRICT OF TEXAS
                                GALVESTON DIVISION

KINDI SHEPARD                                  §
                                               §
v.                                             §      Civil Action NO. 3:23-cv-233
                                               §
DEUTSCHE BANK NATIONAL                         §
TRUST COMPANY                                  §


                     PLAINTIFF’S NOTICE OF NON-OPPOSITION TO
                         DEFENDANT’S MOTION TO DISMISS

       Kindi Shepard hereby files her Notice of Non-Opposition to Plaintiff’s Motion to Dismiss

and respectfully shows the Court as follows:

       1. Defendant filed their Motion to Dismiss on August 29, 2023.

       2. Defendant’s motion is well articulated both factually and legally.

       3. Accordingly, Plaintiff believes that Defendant’s Motion to Dismiss should be granted;

therefore, Plaintiff files her Notice of Non-Opposition and will not be filing a Response to

Defendant’s Motion to Dismiss.

                                             PRAYER

       Accordingly, Plaintiff respectfully requests that the Court grant Defendant’s Motion to

Dismiss and for such other and further relief, both general and special, at law or in equity, to

which Plaintiff may be entitled.
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                                                     Respectfully submitted,

                                                         VILT LAW, P.C.

                                                     By: /s/ Robert C. Vilt
                                                             ROBERT C. VILT
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                                                     ATTORNEYS FOR PLAINTIFF


                                 CERTIFICATE OF SERVICE

       I hereby certify that a true and correct copy of the foregoing was served on all counsel of
record and pro se parties via the court’s electronic filing service on September 15, 2023.


       Emily Stroop
       Alexis Del Rio
       Baker, Donelson, Bearman, Caldwell & Berkowitz, P.C.
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       Houston, Texas 77010


                                             /s/ Robert C. Vilt.
                                             ROBERT C. VILT
